             IN THE UNITED STATES DISTRICT COURT FOR THE
                    EASTERN DISTRICT OF TENNESSEE
                             AT KNOXVILLE



UNITED STATES OF AMERICA                      )
                                              )
v.                                            )      No. 3:08-CR-26
                                              )
STEVEN WAYNE WOOD                             )



                          MEMORANDUM AND ORDER


             This criminal case is before the court on the defendant’s motion for a

continuance of the trial [doc. 82]. Counsel for the defendant avers that he is

defending a death penalty case in State court and critical motions in that case are

set for January 30, 2009. The trial of this case is set for January 27, 2009. Further,

the charge against the defendant in this case could result in a life sentence. The

government takes no position on the defendant’s motion.

             The court finds the defendant’s motion well taken, and it will be granted.

The court finds that the ends of justice served by granting the motion outweigh the

best interests of the public and the defendant in a speedy trial.          18 U.S.C.

§ 3161(h)(8)(A). The court finds that the failure to grant the defendant’s motion

would deny counsel for the defendant the necessary time to prepare for trial. 18

U.S.C. § 3161(h)(8)(B)(iv). Therefore, all the time from the filing of the defendant’s




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motion to the new trial date is excludable as provided by the Speedy Trial Act. 18

U.S.C. § 3161(h)(8)(A).

            Therefore, it is hereby ORDERED that the defendant’s motion is

GRANTED, and this criminal case is CONTINUED to April 29, 2009, at 9:00 a.m.



                                            ENTER:



                                                   s/ Leon Jordan
                                            United States District Judge




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